Case 1:23-cr-00257-TSC Document 161-1 Filed 11/22/23 Page 1 of 4




   EXHIBIT 1
                        Case 1:23-cr-00257-TSC Document 161-1 Filed 11/22/23 Page 2 of 4


                                                               U.S. Attorney’s Office for the District of Columbia
                                                               Criminal Division
                                                               Public Corruption & Civil Rights Section




                                                               November 12, 2020



                 The Honorable William P. Barr
                 United States Attorney General
                 United States Department of Justice
                 950 Pennsylvania Avenue, NW
                 Washington, D.C. 20530-0001

                 Dear Mr. Attorney General:

                         We currently serve in the Public Corruption and Civil Rights Section (PCCR) in the United
                 States Attorney’s Office for the District ofColumbia. We share responsibility for enforcing federal
                 criminal election law in this jurisdiction and are alumni of the Justice Department’s Criminal
                 Division. The views expressed below are our own.

                         We write to voice our support for the nonpartisan career prosecutors in the Public Integrity
                 Section (PIN), especially former Election Crimes Branch (ECB) Director Richard Pilger, whose
                 faithful administration of the Department’s longstanding policy of non-interference in elections
                 has, for decades, protected the institution from the appearance of political partisanship and
                 afforded field offices like ours the credibility necessary to enforce federal criminal election law.
                 In particular, for nearly 30 years, Mr. Pilger has served the Department selflessly and honorably,
                 exhibiting unimpeachable integrity and evenhandedness. We, along with scores of other career
                 prosecutors fortunate enough to have worked with him, were demoralized by his need to resign as
                 ECB Director a courageous act signaling that the Department has strayed from institutional
                 norms ensuring independence from inappropriate political influence.

                         Specifically, we believe that your November 9, 2020, memorandum, “Post-Voting Election
                 Irregularities Inquiries” (the Memorandum), in which you altered the Department’s longstanding
                 non-interference policy, eradicates the Department’s guardrails against improper political
                 influence. The process leading to the Memorandum which prompted Mr. Pilger’s resignation
                 along with its timing and the apparent elimination of the policy requiring United States Attorneys
                 to consult PIN before initiating ballot fraud investigations, erode public confidence in the
                 Department’s independence and impartiality, and hinder our ability to protect the nation’s electoral
                 system from criminal interference.

                         First, the process by which you changed the non-interference policy diminishes the public’s
                 confidence in the Department’s political neutrality with respect to federal criminal election law
                 enforcement. We are informed that PIN, whose career prosecutors are charged with overseeing
                 the Department’s enforcement efforts, was not consulted on your post-election decision to change
                 the policy nor consulted on the Memorandum itself. Such a process violates the norms respecting




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Document ID: 0.7.3493.36834-000001
                        Case 1:23-cr-00257-TSC Document 161-1 Filed 11/22/23 Page 3 of 4




                 deference to career officials in such a sensitive and highly scrutinized area of the law and
                 deteriorates the credibility of any policy change.

                         Second, the timing of your decision to change the non-interference policy inappropriately
                 injects the Department and its field offices into a political thicket. You issued the Memorandum
                 within days of a polarizing election, during a time in which false allegations of widespread voter
                 fraud are running rampant and risk undermining confidence in the election’s outcome. Your abrupt
                 decision to revise the 40-year-old non-interference policy lends the Department’s imprimatur to
                 conspiracy theories and counterfactual balloting fraud allegations that risk permanent damage to
                 the integrity of the election process, and the timing gives the unseemly appearance that the
                 Department’s motives arise from political partisanship.

                         Finally, your Memorandum apparently eliminates the written policy requiring that United
                 States Attorneys consult with career prosecutors in PIN prior to launching ballot fraud
                 investigations during an election period, see Justice Manual, § 9-85.210, thus silencing PIN’s
                 expert and nonpartisan voice in any discussion of whether such an investigation is warranted. As
                 your Memorandum points out, PIN often advises the field that whenever possible, overt
                 investigation of ballot fraud allegations should be delayed until after an election is concluded, the
                 results are certified, and recounts are exhausted. See also Federal Prosecution ofElection Offenses
                 (Dec. 2017, 8th Ed.) at 84-85. You raise the concern that “[s]uch a passive and delayed
                 enforcement approach can result in situations in which election misconduct cannot realistically be
                 rectified.” While we are unaware of any such instance, the very purpose of the consultation
                 requirement is that in such a case, a United States Attorney contemplating a ballot fraud
                 investigation would discuss the unique facts and circumstances with nonpartisan career experts in
                 PIN to determine whether immediate overt steps are necessary and appropriate. In so doing, the
                 Department and United States Attorney involved would avoid the appearance of improperly
                 launching political investigations aimed at affecting the outcome ofan election, and bolster public
                 confidence in the Department’s integrity. Your apparent decision to eliminate the consultation
                 requirement and leave such decisions in the hands ofpolitically appointed United States Attorneys
                 does the opposite.

                          The process by which you reached your decision to issue the Memorandum, coupled with
                 its timing and the apparent elimination of the investigative consultation requirement with PIN,
                 undermine the Department’s commitment to non-interference in elections and constitute a grave
                 threat to the Department’s status as an independent and nonpartisan institution. The collateral
                 damage it has already inflicted including the resignation of Mr. Pilger, turmoil within the ranks
                 of career nonpartisan prosecutors, and the pall it risks casting over the integrity of the 2020
                 election will be felt by this Department beyond your tenure as Attorney General. But you have
                 the opportunity to mend that damage: we urge you to rescind your November 9, 2020,
                 Memorandum, affirm the requirement that United States Attorneys consult PIN before opening
                 ballot fraud investigations, and restore the full scope ofthe Justice Department’s longstanding non-
                 interference policy.




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Document ID: 0.7.3493.36834-000001
                        Case 1:23-cr-00257-TSC Document 161-1 Filed 11/22/23 Page 4 of 4




                                                               Sincerely,



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                                                               JY.cooney ~        CJ  ~
                                                               Chief, PCCR
                                                               (Criminal D ivision/PIN, 2012-2018)


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                                                               LizAloO
                                                               Assistant United States Attorney, PCCR
                                                               District Election Officer/Election Fraud Coordinator
                                                               (Criminal Division, 2012-2018)



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                                                                         United States Attorney, PCCR
                                                               Political Corruption Coordinator
                                                               (Criminal Division/PIN, 2016-2018)


                 Copies to:

                         Richard Donoghue
                         Principal Associate Deputy Attorney General

                         Michael R. Sherwin
                         Acting United States Attorney, District of Columbia

                         Brian C. Rabbit
                         Acting Assistant Attorney General, Criminal Division

                         Kevin Driscoll
                         Deputy Assistant Attorney General, Criminal D ivision

                         Corey R. Amundson
                         Chief, Public Integrity Section

                         Robert J. Heberle
                         Deputy Chief, Public Integrity Section; Acting Director, Election Crimes Branch

                         Richard C. Pilger
                         Trial Attorney, Public Integrity Section



                                                                    3

                                                                                                                 0571

Document ID: 0.7.3493.36834-000001
